                                                        (SPACE BELOW FOR FILING STAMP ONLY)
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 4
 5     ATTORNEYS FOR    Defendant,
                       JAMES MANN
 6
 7                               UNITED STATES DISTRICT COURT
 8                              EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                  Case No.: 1:06-CR-00184 LJO
10
                   Plaintiff,
11                                                 STIPULATION TO CONTINUE
           vs.                                          MOTION HEARING
12                                                            AND
     JAMES MANN, ET AL.,                                   O R D E R
13
                   Defendants.
14                                              Date: January 11, 2008
                                                Time: 8:30 a.m.
15                                              Dept: LJO
16
17        IT IS HEREBY STIPULATED by and between attorneys for the
18   respective parties herein that the Motion Hearing and Arraignment
19   currently scheduled for January 11, 2008, be continued to February
20   8, 2008, at 8:30 a.m. in the courtroom of the Honorable LAWRENCE J.
21   O’NEIL.
22        Counsel for Defendants herein have requested this continuance
23   due to the fact that counsel for the defendants and the U.S
24   Attorney are in the process of settlement negotiations.                     Numerous
25   meetings have occurred and there has been significant progress with
26   at least two of the defendants.
27        All parties want to resolve this issue prior to hearings on
28   the pending motions.
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 1            Counsel for Defendants, VPI, DES JARDINS and MANN, have spoken
 2   with Assistant U. S. Attorney, MARK CULLERS, who is agreeable to
 3   this continuance.
 4   DATED: January 9, 2008.             Respectfully submitted,
 5                                       NUTTALL & COLEMAN
 6                                         /s/ Roger T. Nuttall
                                   By: _______________________________
 7                                     ROGER T. NUTTALL
                                       Attorneys for Defendant
 8                                     HAROLD DES JARDINS
 9   DATED: January 9, 2008.
10                                         /s/ Mark W. Coleman
                                   By: _______________________________
11                                     MARK W. COLEMAN
                                       Attorneys for Defendant
12                                     JAMES MANN
13   DATED: January 9, 2008.
14                                             /s/ Michael Dias
                                   By:
15                                       MICHAEL DIAS
                                         Attorneys for Defendant
16                                       VETERINARY PHARMACEUTICALS INC.
17   DATED: January 9, 2008.
                                          /s/ Mark Cullers
18                                       ___________________________
                                         MARK CULLERS
19                                       Assistant U. S. Attorney
20
                                     O R D E R
21
     THE CONTINUANCE REQUEST WILL BE GRANTED AND TIME EXCLUDED PENDING
22   THE HEARING ON THE MOTIONS.
23   THE COURT IS NOT ABLE TO CONTINUE THIS MATTER TO FEBRUARY 8TH
     BECAUSE OF THE FEDERAL OPEN DOORS PROGRAM TO BE HELD THAT DATE, SO
24   THE MATTER IS CONTINUED TO THURSDAY FEBRUARY 7, 2008 AT 8;45 A.M.
     INSTEAD.
25
     IT IS SO ORDERED.
26
     Dated:     January 10, 2008             /s/ Lawrence J. O'Neill
27   b9ed48                              UNITED STATES DISTRICT JUDGE
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